Case 2:11-cv-12452-SJM-KGA ECF No. 43, PageID.1207 Filed 03/17/21 Page 1 of 3




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


JOHN DAVID KARWAT, II,

      Plaintiff,                              Case No. 2:11-cv-12452
                                              District Judge Stephen J. Murphy, III
v.                                            Magistrate Judge Kimberly G. Altman

COMMISSIONER OF SOCIAL
SECURITY,

      Defendant.

_________________________________/

 REPORT AND RECOMMENDATION ON PLAINTIFF’S MOTIONS FOR
                   ATTORNEY FEES

      This is a social security case. On September 19, 2013, the case was

remanded to the Commissioner for further proceedings. (ECF No. 28). Plaintiff

was awarded benefits on remand. Thereafter, plaintiff filed three motions for

attorney fees. See ECF Nos. 30, 36, and 38. Under 28 U.S.C. § 636(b)(1), these

motions, along with any future motions, were referred to the undersigned. See

ECF No. 39. The motions for attorney fees were referred for resolution through

settlement or, if not settled, for issuance of a report and recommendation. See id.

      On February 1, 2021, the Court held a telephonic status conference to

discuss plaintiff’s motions for attorney fees. During the conference, the


                                          1
Case 2:11-cv-12452-SJM-KGA ECF No. 43, PageID.1208 Filed 03/17/21 Page 2 of 3




Commissioner asked for a 60-day stay on plaintiff’s motions for attorney fees.

Plaintiff agreed. The parties explained that during the stay, plaintiff’s fee petition

for work performed before the Social Security Administration under 42 U.S.C. §

406(a), which forms the bulk of the attorney fee request, would be administratively

considered. The parties also explained that resolution of the § 406(a) petition

would narrow the issues presented in plaintiff’s motions. The Court then entered

an order staying proceedings for 60 days. See ECF No. 41.

      Plaintiff recently filed a paper styled “Proposed Resolution of the Issue of

Award of Attorney Fees under 42 U.S.C. § 406(b),” in which he explains that

plaintiff’s counsel was awarded fees for work performed at the administrative level

(section 406(a) fees) in the amount of $22,304.00 with the issue of fees for work

performed at the district court level (section 406(b) fees) left to the Court. See

ECF No. 42. Plaintiff further says that plaintiff’s counsel has agreed to a reduction

of the fee requested for work performed at the district court level from $7,138.25

to $3,569.13. Id. Notably, the Commissioner agrees that this reduction is

reasonable and resolves any objections to plaintiff’s motions for attorney fees. See

ECF No. 42, PageID.1201-02. The undersigned also agrees that the reduction is

reasonable.

      Based on plaintiff’s filing, the undersigned RECOMMENDS that plaintiff’s

motions for attorney fees be GRANTED IN PART and plaintiff’s counsel be
                                           2
Case 2:11-cv-12452-SJM-KGA ECF No. 43, PageID.1209 Filed 03/17/21 Page 3 of 3




awarded $3,569.13 in attorney fees for work performed at the district court level

under 42 U.S.C. § 406(b).

Dated: March 17, 2021                        s/Kimberly G. Altman
Detroit, Michigan                            KIMBERLY G. ALTMAN
                                             United States Magistrate Judge

      The parties’ attention is drawn to Fed. R. Civ. P. 72(a), which provides a
period of fourteen (14) days from the date of receipt of a copy of this memorandum
within which to file objections for consideration by the district judge under 28
U.S.C. § 636(b)(1).

                         CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was served upon
counsel of record and any unrepresented parties via the Court’s ECF System to
their respective email or First Class U.S. mail addresses disclosed on the Notice of
Electronic Filing on March 17, 2021.


                                             s/Marie E. Verlinde
                                             MARIE E. VERLINDE
                                             Case Manager




                                         3
